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                            Exhibit 196
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
 Case 1:03-md-01570-GBD-SN                 Document 10602-7              Filed 12/09/24      Page 2 of 10



 Date: 20/01/1420 AH                               [Bilingual Text]                              01613
 May 06, 1999 AD                       Al RAJHI BANKING & INVESTMENT CORP.

                                        [SEAL: To be issued to First Beneficiary]           Al Rajhi Exhibit

[Bilingual Text]                                                                                 ARB55
Al RABWAH BRANCH                                                                            !li28/23 canie carnpt,ell, RDR
RIYADH
Against this Cheque
Pay to the Order of
AI-Haramain Islamic Foundation
The amount of 150,000 SR [One Hundred-Fifty Thousand] Saudi Riyals Only

                                                                         Sheikh Suleiman al Abdul Aziz al Rajhi
Signature: [Handwritten Signature]

                                             [Bilingual Text]
                                      DO NOT WRITE BELOW THIS LINE
                                       001612 - 2 9 6 - 0 0 6

[Handwriting: 893 >"]

[Handwriting: The check was received - to be sent to the Foundation - 22/01/1420 AH (May 08, 1999 AD) -
Handwritten Signature]

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regarding confidential information in 03 MDL 1570, U.S. District Court
for the Southern District of New York
                                                                                                      NL0010086
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 Date : 25/12/1419 AH                              [Bilingual Text]                             001553
 April 11, 1999 AD                     AL RAJHI BANKING & INVESTMENT CORP.

                                        [SEAL: To be issued to First Beneficiary]

[Bilingual Text]
AL RABWAH BRANCH
RIYADH
Against this Cheque
Pay to the Order of
AI-Haramain Islamic Foundation, Riyadh
The amount of 300,000 SR [Three Hundred Thousand] Saudi Riyals Only

                                                                         Sheikh Suleiman al Abdul Aziz al Raj hi
Signature : [Handwritten Signature]

                                              [Bilingual Text]
                                      DO NOT WRITE BELOW THIS LINE
                                       001553 - 2 9 6 - - 0 0 6

[Handwriting: 832 v']

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regarding confidential information in 03 MDL 1570, U.S. District Court
for the Southern District of New York
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 Date : 12/01/1420 AH                              [Bilingual Text]                             001593
 April 28, 1999 AD                     AL RAJHI BANKING & INVESTMENT CORP.

                                        [SEAL: To be issued to First Beneficiary]

[Bilingual Text]
AL RABWAH BRANCH
RIYADH
Against this Cheque
Pay to the Order of
AI-Haramain Islamic Foundation
The amount of 12,500 SR [Twelve Thousand And Five Hundred] Saudi Riyals Only

                                                                         Sheikh Suleiman al Abdul Aziz al Raj hi
Signature : [Handwritten Signature]

                                             [Bilingual Text]
                                      DO NOT WRITE BELOW THIS LINE
                                       001593-296 - 0 0 6

[Handwriting: 871 v']

[SEAL: Send a copy to Brother Omar-13/01/1420 AH (April 29, 1999 ADJ - Handwritten Signature]

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regarding confidential information in 03 MDL 1570, U.S. District Court
for the Southern District of New York
                                                                                                    NL0010094
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 [Bilingual Text]                                       In the name of Allah, the Gracious, the Merciful
 Abdulrahman Bin Abdullah Alrajhi
 Saleh Bin Sulaiman AI-Habdan

No. 607/M.H.
Date: 20/12/1419 AH
April 06, 1999 AD
[Handwriting: 782 ~
His Eminence Sheikh Aqil bin Abdul Aziz al Aqil, may Allah bless him
Director General of AI-Haramain Islamic Foundation
May the peace, mercy, and blessings of Allah be upon you.
We ask Allah the almighty that you are doing well.
With reference to your letter No. 2190/19/2, dated 17/12/1419 AH (April 03, 1999 AD), and subsequent to
the phone call with Your Eminence, I am pleased to enclose herewith Check No. 1538 in an amount of
187,500 SR to sponsor the Relief Program for the Muslims of Kosovo.
We suggest that you may open an office in the Republic of Macedonia. Also, please provide us with a copy of
the reports t hat you receive, so we may be updated on the situations of the refugees of Kosovo in a timely
manner.
May Allah protect the Muslims from hardships and seditions and safeguard their religion and safety.
May Allah guide you and us to sponsor charity. May Allah guide all to what pleases Allah.
May the peace, mercy, and blessings of Allah be upon you.
[Handwriting: Send a copy to Omar Hasan - Handwritten Signature - 25/12/1419 AH (April 11, 1999 AD}]
                                                            Your Brother
                                                            Abdulrahman Bin Abdullah Al raj hi
                                                           [Handwritten Signature]

 Date : 19/12/1419 AH                              [Bilingual Text]                            001538
 April 05, 1999 AD                     AL RAJHI BANKING & INVESTMENT CORP.

                                        [SEAL: To be issued to First Beneficiary]

[Bilingual Text]
AL RABWAH BRANCH
RIYADH
Against this Cheque
Pay to the Order of
AI-Haramain Islamic Foundation
The amount of 187,500 SR [One Hundred Eighty-Seven Thousand And Five Hundred] Saudi Riyals Only
                                                                  Sheikh Suleiman al Abdul Aziz al Rajhi
Signature: [Handwritten Signature)
                                            [Bilingual Text]
                                   DO NOT WRITE BELOW THIS LINE
                                    001538-296 - 0 0 6

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for the Southern District of New York
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           Case 1:03-md-01570-GBD-SN                    Document 10602-7               Filed 12/09/24          Page 6 of 10




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                                             for the Southern District of New York.
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   Abdulrahman Bin Abdullah Alrajhi                                                 ~1_,JI ~I~~~..,
   Saleh Bin Sulaiman AI-Habdan                                                     ()I' !6 11 U ~ ~ c,J~
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                  TRANSLATION CERTIFICATION STATEMENT

Project: NL 10086, 10088, 10094, 10245




Language: Arabic > English

Documents:
NL 10086, 10088, 10094, 10245


TRANSLATOR STATEMENT
I hereby declare that, to the best of my knowledge and belief, the translation of the
above referenced documents is a true, accurate and complete translation of the original.


Name of Certifying Translator:            Farah Alshekhli
                  BA in Translation and Interpretation Studies, 17 years of experience, certified in Medical Terminology
Qualifications:


Signed:                                                                           Date:     05/09/2023




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